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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                      Criminal No. 21-28-8 (APM)
                                          )
KELLY MEGGS,                              )
                                          )
      Defendant.                          )
_________________________________________ )

                                               ORDER

       Before the court is Defendant Kelly Meggs’s Second Renewed Request for Pretrial

Release, ECF No. 356 [hereinafter Def.’s Mot.]. The court construes Defendant’s motion as one

to reopen his detention hearing pursuant to 18 U.S.C. § 3142(f)(2)(B). That statute permits that a

               [bond] hearing may be reopened, before or after a determination by
               the judicial officer, at any time before trial if the judicial officer finds
               that information exists that was not known to the movant at the time
               of the hearing and that has a material bearing on the issue whether
               there are conditions of release that will reasonably assure the
               appearance of such person as required and the safety of any other
               person and the community.

18 U.S.C. § 3142(f)(2)(B). Defendant offers three grounds for reopening his bond hearing: (1) the

“sheer magnitude of the discovery that has yet to be disclosed to the defense,” which he contends

will result in his being tried “more than one year” after he was ordered detained, Def.’s Mot. at 2;

(2) evidence has emerged that he “assisted a U.S. Capitol Police Officer that he perceived to be at

risk and was engaged to assist in guarding a stairwell leading down to an area in which other

Capitol police officers were being de-contaminated,” id. at 2–3; and (3) additional evidence shows

that “other members of the Oath Keepers . . . were, in fact, recruited by a U.S. Capitol Police

Officer to assist other officers who were being overwhelmed by rioters who were engaging in
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violent conduct,” id. at 4. None of this information has a “material bearing” on this court’s decision

to detain Defendant. See 18 U.S.C. § 3142(f)(2)(B).

        First, with respect to the length of pretrial detention, as the government points out,

Congress excluded “the probable duration of pretrial incarceration from its enumeration of factors

to be considered by the judicial officer in the initial detention determination.” United States v.

Accetturo, 783 F.2d 382, 388 (3d Cir. 1986). Defendant has not argued that his detention violates

his due process rights, nor could he based on “the length of the detention that has in fact occurred,”

id. at 388. Defendant has been in custody for six months, and this court has scheduled him for a

trial to being at the end of January 2022. Defendant therefore will be subject to pretrial detention

for less than a year when his trial commences. Although Defendant claims that neither he nor the

government will be ready for that trial date, he does not explain why that is so. See Def.’s Mot.

at 2.   Defendant’s speculation that trial will not proceed as scheduled does not warrant

reconsideration of his bond status.

        Second, Defendant offers no actual proof that he assisted U.S. Capitol Police, only his

unsupported assertion. See id. at 2–3. Apparently, the hours of video recordings that Defendant

has received do not capture his claimed assistance.         The government also refutes it.      The

government has represented that interviews of multiple police officers who were in the area

between the Rotunda and Statuary Hall do not corroborate Defendant’s contention. See Gov’t’s

Opp’n to Def.’s Second Renewed Request for Pretrial Release, ECF No. 388, at 2.

        Third, Defendant’s assertion that other Oath Keepers may have been asked to assist

U.S. Capitol Police—and it is not clear whether they were or not—has no bearing on Defendant’s

dangerousness.




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          Finally, the court previously set forth the reasons it deems Defendant too dangerous to be

released. See Hr’g Tr., ECF No. 118, at 20–33; Order, ECF No. 177 [hereinafter Order Denying

Release], at 2–3. Perhaps most critically, Defendant stated in a text message exchange after

January 6 that he looked for House Speaker Nancy Pelosi while inside the Capitol building. See

Order Denying Release at 3. That admission is corroborated by surveillance of Defendant’s

movements on January 6, which placed him with other Defendants in front of the Speaker’s office.

See Hr’g Tr., ECF No. 167, at 75–76. Defendant offers no evidence to rebut this key evidence of

his dangerousness.

          For the foregoing reasons, Defendant’s Second Renewed Request for Pretrial Release is

denied.




Dated: September 14, 2021                                     Amit P. Mehta
                                                       United States District Court Judge




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